     Case 1:18-cr-02056-SMJ                 ECF No. 12           filed 11/07/18          PageID.15 Page 1 of 1




       United States District Court, Eastern District of Washington
                                    Magistrate Judge Mary K. Dimke
                                                Yakima

 USA v. Fernando Magana-Mendoza           Case No. 1:18-CR-2056-SMJ-1
 Arraignment/Initial Appearance on Indictment:              11/08/2018


 ☒ Pam Howard, Courtroom Deputy [Y]                              ☒ Thomas Hanlon, US Atty
                                                                 ☒ Jennifer Barnes, Defense Atty
 ☒ Erica Helms & Arturo Santana, US                              ☒ Interpreter – Carolina Hickey
   Probation / Pretrial Services Officer
 ☒ Defendant present ☒ in custody USM                            ☐ Defendant not present / failed to appear
                        ☐out of custody

 ☒     USA Oral Motion for Detention                             ☒     Rights given
 ☐     USA not seeking detention                                 ☒     Acknowledgment of Rights filed
 ☒     Financial Affidavit (CJA 23) filed                        ☒     Defendant received copy of charging document
 ☒     The Court will appoint the Federal Defenders              ☒     Defendant waived reading of charging document
 ☐     Based upon conflict with Federal Defenders, the           ☐     Charging document read in open court
       Court will appoint a CJA Panel Attorney
 ☒     USA represents defendant is eligible to proceed           ☐     Expedited PSIR ordered
       in an expedited manner.
 ☐     Defendant’s Approval to Institute PSIR/Waiver             ☒     Supplemental PRE-Trial Services Report ordered,
       filed                                                           if necessary
 ☐     USA represents defendant is not eligible to               ☐     POST Pre-Trial Services Report ordered
       proceed in an expedited manner.
 ☐     USA represents defendant’s Fast Track eligibility         ☐     USA directed to provide notice of expedited
       is presently undetermined.                                      eligibility within 7 days
 ☐     AO Advice of Penalties/Sanctions filed
                                                       REMARKS
        Defendant appeared and was assisted by counsel and advised of their rights and the allegations
contained in the charging document.
        “Not guilty” plea entered.
        Discovery to be provided pursuant to the local rule on discovery.


The Court ordered:
         1. Defendant shall be detained by the U. S. Marshal until further order of the Court.




                                              Detention Hearing:
                                    11/09/2018 @ 9:45 a.m. [Y Video/MKD]


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